                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


   ANDREW JOSTEN LOVINGOOD, )
        Plaintiff,            )
                              )
   vs.                        )
                              )                      No.: 3:19-CV-009
                              )
   BILL JOHNSON, DERRICK      )
   GRAVES, and MONROE COUNTY, )
   TENNESSEE,                 )
        Defendant.            )


   PLAINTIFF’S RESPONSE AND INCORPORATED MEMORANDUM OF LAW
      TO DEFENDANT MONROE COUNTY, TENNESSEE’S MOTION FOR
                       SUMMARY JUDGMENT


          COMES NOW, Plaintiff Andrew Josten Lovingood, by and through his

   undersigned attorneys and files this his Response and Incorporated Memorandum of Law

   to Defendant Monroe County, Tennessee’s Motion for Summary Judgment as follows:

          1.      Plaintiff sued Defendants Bill Johnson and Derrick Graves individually and

   in their official capacities.

          2.      Plaintiff sued Defendant Monroe County, Tennessee for its failure to

   properly screen before hiring the Defendants Johnson and Graves, and for the failure to

   properly supervise those Defendants once they were hired, and for the failure to train

   them once hired. [Doc. 1, ¶’s 49 through 53]. Plaintiff further alleged that Defendant

   Monroe County, Tennessee refused to discipline the Defendant Deputies for their illegal

   actions against Plaintiff. [Doc. 1, ¶’s 49 through 59] Such failure constituted a ratification

   of the unconstitutional conduct by the County.




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          3.     The individual Defendants, only, were sued for their excessive use of force.

   [Doc. 1, ¶’s 30 and 48] However, T.C.A. § 8-8-302 makes the County financially liable for

   the non-negligent acts of deputies appointed by the Sheriff when acting by virtue of or

   under color of their office and the County has statutorily waived its immunity for such

   actions under that statute.

          4.     “The Sixth Circuit has consistently held that blows to the face and body of a

   restrained suspect who is no longer a threat to the officers represent an unreasonable use

   of force. See, e.g., Harris v. City of Circleville, 583 F.3d 356, 366–67 (6th Cir.2009);

   Champion v. Outlook Nashville, Inc., 380 F.3d 893, 902–03 (6th Cir.2004); Phelps v.

   Coy, 286 F.3d 295, 301–02 (6th Cir.2002).” Kellam v Hembree, 2014 WL 1304322, at p.

   5 (E.D.Mich. Mar. 31, 2014). However, in this case, the videotapes at the Jail clearly show

   the Defendants Johnson and Graves along with other Jail personnel and Sheriff deputies

   were hitting and kicking Plaintiff who was in handcuffs and leg restraints and therefore

   posed no threat to anyone. See Exhibits A, B, and C respectively, Monroe County Jail

   Surveillance Videos from Camera designated as Camera 07 at approximately 12:39:00;

   Camera CH 3, 4/19/2014 1330.avi starting at 13:38:10; Camera 08-20140419-191101

   starting at 12:40:00. These actions by Defendants Johnson and Graves and others were

   observed, and recorded, by other jailers who took no action to protect Plaintiff from the

   beating he received at the hands of other jailers and deputies.

          Given the state of the law for the past decade, the fact that the Defendant Deputies

   were not disciplined and/or subjected to additional training on this point by the Sheriff’s

   Office until months later after a new Sheriff was elected and took office is strong

   circumstantial evidence that the Office of the Sheriff condoned the conduct by his

   deputies and jailers. Only after the “new Administration” assumed control of the Sheriff’s


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   Department and Tommy Jones was notified by the Tennessee Bureau of Investigation

   that indictments of the two deputies were imminent did they review the videotapes, which

   clearly show Plaintiff being hurled from Defendant Johnson’s police cruiser onto the

   concrete while handcuffed behind his back and while in leg restraints attached to those

   handcuffs. See Exhibit D, Deposition of Tommy Jones, p. 8, lines 12-25, p. 9, lines 1-7;

   Exhibit A Monroe County Jail Surveillance Videos designated as Camera 07 at

   approximately 12:38:15 where Deputy Johnson and Deputy Graves can be seen removing

   Plaintiff who is handcuffed and has leg restraints on and hurling Plaintiff who was hog-

   tied at the time from the back seat of the cruiser to the concrete pavement.1

           Later, the videos depict Defendants Johnson and Graves in the area of the Jail

   referred to as the “drunk tank” punching Plaintiff, while he is still in leg restraints and

   handcuffs, in the head, face, body, and kicking/kneeing Plaintiff in full view of multiple

   other officers who were present, and others who were watching “the action” on the

   surveillance footage. And yet, not one single sworn officer reported the excessive force

   being used on a man who was already fully restrained. See Exhibit B, and C, Video Camera

   CH 3, 4/19/2014 1330.avi; Camera 08-20140419-191101.

           5.      The Defendant Monroe County has failed to establish the actual training for

   each Defendant Deputy for purposes of demonstrating that the training was adequate for

   constitutional purposes. “Although it is a close question, the Court concludes that, based

   on the testimony of these two witnesses, a reasonable jury could conclude that Jackson

   County's training program is inadequate regarding the tasks that its road officers must


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      It should be noted that the patrol cars of Johnson and Graves parked outside of the sally port instead of
   pulling into the sally port, which was empty, and having the gate closed behind them. The two cameras that
   depict the sally port area are able to clearly show what happens in the sally port. This is strong
   circumstantial evidence that the Defendant Deputies knew that what they were going to do was wrong and
   that they wanted to avoid their conduct being recorded for posterity.


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   perform. Other decisions support this conclusion. For example, in Hockenberry v. Village

   of Carrollton, 110 F.Supp.2d 597, 602 (N.D.Ohio 2000), the court held that a jury

   question existed on the issue of municipal liability because the Village had provided only

   one training course on its policies and procedures and the officer involved in the incident

   (a police pursuit that led to a crash) had never been tested on the procedures. And in

   Harvey v. Campbell County, Tenn., 2008 WL 5429646, *4–*5 (E.D.Tenn. Dec. 30,

   2008), the court held that a triable issue existed about the adequacy of a county's training

   policies where the County's training on the use of deadly force consisted of providing

   written policies to the officers and relying on their general law enforcement training,

   which included forty hours of in-service training each year. The court noted that ‘without

   any indication as to the full extent’ of the officer's training and without ‘specific evidence

   regarding the nature and extent of his [previous] training,’ reasonable minds could differ

   on whether the training provided was adequate.” Maynard v. Jackson County Ohio, 706

   F.Supp.2d 817, 827 (S.D. Ohio, Eastern Division 2010).

          The Affidavit of Sheriff Bivens, does not describe the precise training of each

   officer; without any specification as to what that training consisted of or whether any of

   that training was relevant to the constitutional issues in this case. While the policies and

   procedures manuals for the Sheriff’s Patrol Division and Jail Division were attached to

   the Affidavit of Bivens, there is no reference to either individual officer being provided

   with such manuals or receiving training in such manuals. [Doc. 44, ¶ 9]. Under Maynard,

   the allegations in the Affidavit are legally insufficient to raise a genuine issue of material

   fact on the sufficiency of the training so as to shift the burden to the Plaintiff.

          6.     Defendant Graves has entered a guilty plea as to the charges arising out of

   this incident. Graves has admitted in his deposition that he did commit the offenses to


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   which he entered pleas and that he was never disciplined or even the subject of any

   investigation into his actions that day. He admitted that he used “knee strikes” on

   Plaintiff while Plaintiff was in a cell with multiple other officers and while Plaintiff was

   handcuffed. See Exhibit I Deposition of Graves, p. 70 lines 16-20; p. 74 lines 7-24; and

   pps. 119-120, lines 10-25 and 1-12.

            While it is counter-intuitive that you should have to train a law enforcement officer

   that it is an unconstitutional use of force to strike a person who is confined or a detainee

   while they are restrained and no longer a threat to law enforcement, apparently the exact

   situation as occurred with Plaintiff arises with sufficient frequency that the appellate

   courts        have   to   periodically   weigh   in   and    remind    officers,   and    their

   departments/employers, that this has been the law of the land for more than a decade in

   the Sixth Circuit. Kellam v Hembree, 2014 WL 1304322, at p. 5 (E.D.Mich. Mar. 31, 2014)

   and cases cited therein.

            7.      “The Court of Appeals for the Sixth Circuit has held in at least two decisions

   that a sheriff's failure to investigate incidents of police abuse and to discipline the officers

   involved may constitute ratification of the illegal acts and may amount to deliberate

   indifference to the constitutional rights of the victims of the misconduct. See Leach v.

   Shelby County Sheriff, 891 F.2d 1241, 1248 (6th Cir.1989); Marchese v. Lucas, 758 F.2d

   181, 188 (6th Cir.1985).” Maynard v. Jackson County Ohio, 706 F.Supp.2d 817, 827-828

   (S.D. Ohio, Eastern Division 2010).

            “In the context of supervisory liability for failure to train asserted against an

   individual, a plaintiff must demonstrate that the supervisor ‘either encouraged the

   specific incident of misconduct or in some other way directly participated in it. At a

   minimum a plaintiff must show that the official at least implicitly authorized, approved,


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   or   knowingly   acquiesced    in   the   unconstitutional   conduct    of   the   offending

   officers.’ Phillips v. Roane Cnty., Tenn., 534 F.3d 531, 543 (6th Cir. 2008) (citing Shehee

   v. Luttrell, 199 F.3d 295, 300 (6th Cir. 1999)). Supervisory liability attaches ‘only if a

   constitutional violation is ‘part of a pattern’ of misconduct, or ‘where there is essentially

   a complete failure to train the police force, or training that is so reckless or grossly

   negligent that future police misconduct is almost inevitable or would properly be

   characterized as substantially certain to occur.’ ’ Ontha v. Rutherford Cnty., Tenn., 222

   Fed.Appx. 498, 504 (6th Cir. 2007) (quoting Hays v. Jefferson County, 668 F.2d 869, 874

   (6th Cir. 1982)).” Schalk v. City of Memphis Tennessee et al, 2015 WL 11019255, p. 13

   (W.D. Tenn., Western Division, No. 14-cv-2220 SHL-tmp, signed August 13, 2015).

          In the case before this Court, Plaintiff has identified numerous instances of the

   excessive use of force by deputies against persons arrested, or detained at the Monroe

   County Jail, that were known to Monroe County and the fact that these abuses continued

   to happen in much the same way was clear notice to Monroe County that the

   unconstitutional use of force was a part of a pattern of misconduct that continued

   uncorrected. Shehee v. Luttrell, 199 F.3d 295, 300 (6th Cir. 1999)

          Here the other cases referenced in the Request for Judicial Notice reveal that the

   instances of excessive force by the various deputies were ignored. In one case the deputies

   resigned and Sheriff Bivens hired one of them back notwithstanding the fact that their

   actions were captured on videotape, and they had entered pleas to the criminal charges.

   See Exhibit F, Request for Judicial Notice numbers 4 and 8. Deputy Albert Mendina was

   kept on staff until the second incident of excessive force involving him against a child. See

   Exhibit F, Request for Judicial Notice number 5. Monroe County has been sued over




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   repeated incidents of the use of excessive force and yet has willfully failed and refused to

   address the problem.

          Months after this incident with Plaintiff, there was an election and Randy White

   defeated Sheriff Bivens. However, Sheriff Bivens sued on the grounds that Randy White

   was not statutorily qualified to assume the Office of the Sheriff because White did not

   have three full years of full-time law enforcement experience required by T.C.A. § 8-8-

   102 before being placed on the ballot for office. Following a trial and appeal, the election

   for the Office of Sheriff was declared void. See Exhibit F, Request for Judicial Notice,

   number 1, Bivens v. White, et al, NO. E2014-02251-COA-R3-CV-Filed-September 16,

   2015. The County then appointed Sheriff Tommy Jones to fill the position of Sheriff until

   an election could be held. However, the appointment of Jones was after the material

   events, which took place in this case. At the time of the “investigation” and firing of the

   Defendant Deputies, which took place months after the incident in question, Jones was

   the Deputy Chief in the Sheriff’s Department and Randy White was the duly elected

   Sheriff. There was no investigation close in time to the incident by the then-Sheriff

   and/or the County even though they were made aware of the incident with Plaintiff and

   even though they knew that the encounters with Plaintiff at the Jail were caught on tape

   and available for anyone who cared to know what they showed. Furthermore, Plaintiff’s

   mother had complained directly to the Sheriff when the incident first happened. Exhibit

   D, Deposition of Tommy Jones, p. 28, lines 3-17; p. 37, lines 13-14 (“They’d spoke to

   Bivens about it. Bivens hadn’t done anything”) and 20-24 (“Q. If I heard you correctly in

   that, Darlene Lovingood told you that she had complained about the incident to Sheriff

   Bivens; is that correct? A. Yes.); Exhibit G, Deposition of Bill Johnson, p. 13, lines 15-23;

   p. 68, lines 7-16.


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           8.      The County is not a person but rather an entity, and therefore acquires

   notice and knowledge like any other entity or corporation. The testimony of Tommy Jones

   clearly sets out that there was knowledge within Monroe County, including the Sheriff’s

   Department that the Defendant Deputies had engaged in conduct that crossed a line into

   unconstitutional conduct. See Exhibit D, Deposition of Tommy Jones, p. 8, lines 12-25, p.

   9, lines 9-25, p. 32, lines 24-25; p. 37, lines 20-24.

           9.      Prior to this incident, Plaintiff had previously been diagnosed as being

   bipolar, suffering from depression and anxiety. Exhibit H, Deposition of Andrew

   Lovingood, p. 51, lines 10-21. He has testified that he was paranoid and trying to get home2

   but the police car was following him so he stopped and asked the officer why the officer

   was following him. According to the Plaintiff, this made the officer mad and the officer

   began beating him on the side of the road. Exhibit H, Deposition of Andrew Lovingood,

   p. 46, lines 1-13. Mr. Lovingood also testified that there were witnesses to the officers

   beating him, including Renee Reed and her son. Exhibit H, Deposition of Andrew

   Lovingood, p. 42, lines 4-25. At the time of his initial encounter with Defendant Johnson

   Plaintiff was in the midst of a mental health crisis and his mental condition continued to

   deteriorate until he was eventually taken to Moccasin Bend Mental Health. The

   videotapes from the Monroe County Jail surveillance cameras show a person who is

   mentally unbalanced. Instead of treating him like a person in crisis, he was handled

   roughly into the Jail and subsequently put into the drunk tank where he was beaten and

   kicked and left alone for an extended period of time in handcuffs and leg restraints. See


   2
     Plaintiff testified that he had been at the Election Commission earlier that day voting and he had had a
   panic attack/nervous breakdown there and had to leave. Exhibit H, Deposition of Plaintiff, p. 22, lines 17-
   25, p. 23, lines 1-22. Tommy Jones testified that Defendant Deputy Johnson had “received a call on Mr.
   Lovingood” about what had transpired at the Elections Commission and based on that information,
   Johnson had “initiated a traffic stop”. Exhibit D, Deposition of Tommy Jones, p. 11, lines 12-22.


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   Exhibits A, J, Camera 07 at 12:39:15; Camera 05 at 12:39:15; See Exhibits A, B, C, Monroe

   County Jail Surveillance Videos from Camera designated at Camera 07 at approximately

   12:39:15; Camera CH 3, 4/19/2014 1330.avi; Camera 08-20140419-133736.avi.

          10.    There is no evidence in the record that the County supplied training that

   would have enabled the Defendant Deputies to treat the Plaintiff appropriately during his

   initial arrest and initial placement in the Jail. Even the current Sheriff acknowledges that

   tempers flair and sometimes there is an issue with an officer controlling his or her anger

   where the person being taken to Jail is cursing, rude and/or disrespectful and that

   changes needed to be made to prevent this precise type of incident. Exhibit D, Deposition

   of Tommy Jones, p. 13, lines 17-25, p. 14, lines 1-25, p. 15, lines 1-2.

          11.    By his own testimony, Defendant Johnson had had no less than eight jobs

   prior to his most recent hiring by the Monroe County Sheriff’s Department. See Exhibit

   G, Deposition of Johnson, pps. 7-9, lines 22-25, 1-15, 17-25, and 1-13. (He worked at

   Monroe County, then Tellico City, then Monroe County, they Bivens Oil Company, then

   Athens City Police Department, Madisonville City Police Department and then back to

   Monroe County.)

          12.    The standard for review, as Defendant Monroe County points out in its

   Memorandum of Law, requires that Monroe County first carry its burden of showing that

   there are no genuine issues of material fact set out in the record regarding an essential

   element of the claim. [Doc. 61, p. 2 of 12]. Unless, and until, Monroe County meets that

   burden, the burden does not shift to Plaintiff. Here, Defendant Monroe County’s Motion

   relies upon the Affidavit of Sheriff Bivens.

          Defendant alleges that the Deputy Defendants “[b]oth filled out applications and

   no question exists that the county fully complies with Tennessee law prior to employing


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   the individuals. No facts exist that either Johnson or Graves had any prior issues, or

   anything in either of the deputies’ past that could place the county on notice or would

   allow the county to predict the alleged use of unreasonable force on Andrew Lovingood.”

   [Doc 61, pps 7-8] However, Defendant Monroe County points to nothing in the record to

   support those bare, self-serving assertions. Pointing to record evidence is required under

   Rule 56 (c), Federal Rules of Civil Procedure. Defendant has likewise followed the same

   “formula” in reference to its assertion that there is no evidence that the supervision of the

   Defendants Johnson and Graves failed and was the cause of the constitutional violation

   by those officers. This is all the more critical because counsel for Plaintiff had requested

   those documents prior to the deposition of Jones.

          Defendant Monroe County attempts in its Memorandum of Law to establish that

   the Deputy Defendants were properly trained. However, Maynard, supra, and the cases

   cited therein hold that this “testimony” or “evidence” is legally insufficient to raise the

   issue to an undisputed material fact which would then shift the burden to Plaintiff. [Doc.

   61, p. 10] Rule 56 (c)(4), Federal Rules of Civil Procedure, requires that the Affidavit “be

   made on personal knowledge and set out facts that would be admissible in evidence, and

   show that the affiant or declarant is competent to testify to the matters stated.” A review

   of the Affidavit shows that it does not meet this test.

          It must be pointed out that the testimony by Jones clearly establishes that Jones

   and Randy White, the then-Sheriff, both had personal knowledge of the events that had

   taken place long before either of them assumed office. See Exhibit D, Deposition of

   Tommy Jones, p. 8, lines 12-25; p. 32, lines 24-25.

          Both Jones and Johnson testified in deposition that to their knowledge, Sheriff

   Bivens’ Administration had never conducted an investigation of any sort into the


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   allegations regarding the treatment of Plaintiff during his arrest and incarceration,

   despite the fact that the Plaintiff’s mother had specifically complained to the Sheriff about

   the incident. Exhibit D, Deposition of Tommy Jones, p. 28, lines 3-17; p. 37, lines 13-14

   (They’d spoke to Bivens about it. Bivens hadn’t done anything”) and 20-24 (“Q. If I heard

   you correctly in that, Darlene Lovingood told you that she had complained about the

   incident to Sheriff Bivens; is that correct? A. Yes.); Exhibit G, Deposition of Bill Johnson,

   p. 13, lines 15-23; p. 68, lines 7-16. This testimony makes it clear that the Office of the

   Sheriff of Monroe County had knowledge of the incident, and the injuries to the Plaintiff,

   soon after the events occurred and yet nothing had been done about it.

          13.    It should be remembered that throughout the Deposition of Sheriff Jones,

   counsel for Plaintiff made repeated requests for documents that should have been

   produced to Plaintiff in discovery but weren’t. While Counsel for the County advised on

   the record that he thought the documents had already been produced, no such production

   ever occurred, including Personnel Files, Internal Affairs Investigations, and Discipline

   Records. See Exhibit D, Deposition of Tommy Jones, p. 17-18, lines 18-25, 1-18; p. 24,

   lines 6-22; p. 28, lines 8-17. Additionally, then Sheriff Jones has freely testified that

   documents were missing when his Administration took over. See Exhibit D, Deposition

   of Tommy Jones, p. 29, lines 2-15, p. 30, line 1; p. 32, lines 15-23. Without knowing exactly

   what was missing, there is no way to determine if the personnel files Randy White claimed

   to have reviewed actually constitute official business records of Monroe County, and

   Defendant Monroe County cannot establish a proper predicate for the admission of those

   records as an exception to the hearsay rule in light of the testimony of Tommy Jones.

   Since The Sheriff has acknowledged that there are some records missing, and he was

   aware that the records were incomplete when he took office, it would seem that no proper


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   foundation for the admission of the hearsay testimony in the Randy White Affidavit can

   be established. Rule 803 (6) and (8), Federal Rules of Evidence, and Rule 803 (6) and

   (8), Tennessee Rules of Evidence. See also Rule 902(4), Tennessee Rules of Evidence.

   “The touchstone for admission of evidence as an exception to the hearsay rule has been

   the existence of circumstances which attest to its trustworthiness.” U.S. v. Williams, 571

   F.2d 344, 350 (6th Cir. 1978) cert. denied, 439 U.S. 841 (1978). The circumstances that

   exist in this case cannot establish the requisite degree of trustworthiness where Sheriff

   Jones admits that there are records missing from the Sheriff’s Department. See Exhibit

   D, Deposition of Jones, p. 29, lines 2-25, p. 30, line 1.

          14.      Of equal interest is the fact that prior to Plaintiff’s arrest and incarceration,

   there had been at least five separate incidents of excessive force by deputies against

   persons being taken into custody or already in custody in the Monroe County Jail:

                   a. In a similar case, two “road deputies” were called to the Jail and pepper

   sprayed inmate Randall “Randy” Carter who was in a restraint chair in a cell where he

   posed absolutely no danger to anyone. Those two deputies, Deputy John Wilburn and

   Deputy Thomas Darian, were captured on video surveillance at the Jail exercising this

   unconstitutional use of force and almost immediately resigned and were prosecuted. They

   entered pleas of guilty and received diversion. Inexplicably Monroe County rehired

   Deputy John Wilburn. See Request for Judicial Notice, numbers 4, 8, and 9.

                   b. A school resource officer, Albert Mendina, dragged a female juvenile into

   the Jail, handcuffed her to a chair and left her there with adults. See Request for Judicial

   Notice, 6, 7.

                   c.   Shockingly Albert Mendina was still employed by the Monroe County

   Sheriff’s Department as a school resource officer when he subsequently dragged a special


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   needs student into an office and restrained the student by means of a choke hold that was

   so tight it left a perfect impression of the officer’s badge on the child’s skin. See Request

   for Judicial Notice number 5.

                 d.   Inmate Joshua Crowder was tasered by then-Jail Administrator, Trent

   Prock, as Crowder lay on his bunk in his cell posing no threat to anyone.

                 e.     In yet another incident that is eerily similar to the facts of this case,

   Deputy Sonny Smart, a “road deputy”, cold-cocked/sucker punched an inmate, Justin

   Bell, in the booking area of the Jail. The incident was, again, caught on the jail surveillance

   system. The inmate’s attorney made a complaint to then-Sheriff Bivens who agreed to

   arrange to have the inmate’s charges reduced with no civil suit being filed against the

   Deputy or the County. Deputy Smart was not disciplined or fired as a result of this

   incident.

          Efforts to locate the inmates or transcripts from proceedings or documentation

   from the Sheriff’s Department relating to the encounters set forth above are continuing.

   However, Sheriff Jones has testified that the then previous Administration (Sheriff

   Bivens) had removed documents from the official records of the Sheriff’s Department. See

   Exhibit D, Deposition of Tommy Jones, p. 29, lines 2-25, p. 30, line 1. Counsel for Plaintiff

   has been advised that a witness who no longer works for the Sheriff’s Department was

   actually instructed by Sheriff Bivens to “sanitize” the files before the new Administration

   took over. Counsel for Plaintiff has also been advised that while the official documents

   may have been removed, or the files sanitized of damning documents and information, a

   witness who was working for the Monroe County Jail at all times relevant to the incidents

   set out above was in the habit of preparing “CYA” memoranda and providing a copy to the

   Sheriff and retaining a copy so that there would be no question about incidents that had


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   happened in the Jail. Counsel for Plaintiff is in the process of attempting to obtain

   Affidavits from these two witnesses and pursuant to Rule 56 (d), Federal Rules of

   Procedure, requests that this Court either: defer ruling on the Motion for Summary

   Judgment; deny the Motion for Summary Judgment; allow counsel for Plaintiff time to

   obtain the necessary affidavits or take the depositions of the witnesses to secure the

   necessary testimony; or such other relief as this Court may deem just and appropriate

   under the circumstances.

                     ARGUMENT AND CITATION OF AUTHORITY

         What is before this Court at this time is Defendant Monroe County’s Motion for

   Summary Judgment predicated on the claim that this Defendant did not know that the

   training and supervision of the deputies in the Sheriff’s Department was not sufficient to

   prevent constitutional violations by deputies and that Monroe County did properly screen

   deputies that were hired/appointed to work at the Jail and as road deputies for the

   Monroe County Sheriff’s Department.

                I.     FAILURE TO TRAIN/SUPERVISE

         Where the failure to train amounts to deliberate indifference to the rights of

   persons with whom the law enforcement officers come into contact, the inadequacy of

   that training may form the basis for liability under 42 U.S.C. § 1983. City of Canton v.

   Harris, 489 U.S. 378, 388 (1989). To demonstrate that, Plaintiff must show prior

   instances of similar unconstitutional conduct which demonstrates that the governmental

   entity has “ignored a history of abuse and was clearly on notice that the training in this

   particular area was deficient and likely to cause injury” (Fisher v. Harden, 398 F.3d 837,

   849 (6th Cir. 2005) such that the need for additional training and/or supervision was so

   obvious that the failure to provide it can be deemed proof that the policymakers were


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   deliberately indifferent to the need for such training or supervision. Moldowan v. City of

   Warren, 578 F.3d 351, 393 (6th Cir. 2009), cert. denied, 130 S.Ct. 3504 (2010).

          Here, Plaintiff has been made aware of at least five (5) prior instances of similar

   unconstitutional use of force by deputies. In one of the five instances, the deputy was fired

   and then rehired (John Wilburn), and in a second the deputy (Albert Mendina) was not

   only not fired, but he remained on the force assigned as a school resource officer only to

   re-offend. Plaintiff has located documents which are the subject of his Request for Judicial

   Notice.

          What these prior instances demonstrate, though, is that Monroe County was well

   aware of the fact that deputies in its employ were engaging in unconstitutional use of force

   and yet there was no change in the policies as it relates to training and supervision. Fisher

   v. Harden, 398 F.3d 837, 849 (6th Cir. 2005).

          The unconstitutional use of force in this case comes in three separate and distinct

   instances according to the testimony and the videotapes of the encounter between

   Plaintiff and Monroe County deputies on the date in question:

          A.     Original stop during which Plaintiff was beaten, tasered, and “hog-tied”

          before being placed in Defendant Johnson’s cruiser (there is inexplicably no

          video from the dash camera showing these events) Exhibit G, Deposition of

          Johnson, p. 53, lines 1-25; p. 55, lines 1-25, p. 56, line 1;

          B.     Arrival at the Jail where Johnson parked outside the sally port and Deputy

          Parks who is Johnson’s step-brother assisted him in hurling Plaintiff who was

          still in handcuffs and leg restraints out   of the car and onto the concrete

          pavement; See Exhibit A, video Camera 07 at 12:39:15; and




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          C.     The beating that Johnson and Graves subjected Plaintiff to inside the

          “drunk tank”. See Exhibit B, Video CH 3 4/19/2014 1330.avi.

          Taking these instances in order, the testimony of Defendant Graves shows that at

   the time that Plaintiff was beaten and tasered by him and by Johnson, the Plaintiff was

   on the ground being held down. See Exhibit I, Deposition of Graves, p. 94, lines 17-25.

   Graves subsequently admitted that he also used a “compliance” technique on Lovingood

   referred to as the “iron wrist lock” which uses pain to force compliance. Deposition of

   Graves, p. 98, lines 15-22, p. 99, lines 2-17. The fact that the cruiser was apparently

   equipped with a dashboard camera that would have recorded the events described yet

   there is no such video must raise the presumption that the tape recording of the events

   was deliberately discarded or destroyed or that Deputy Johnson intentionally chose not

   to activate the recording device. Apparently Deputy Johnson, in his criminal case, moved

   to dismiss all charges against him on the grounds that Monroe County has intentionally

   destroyed the evidence. Request for Judicial Notice of State v. Johnson, Monroe County

   Circuit Criminal Count, Docket Number: 15-140 CRM. The evidence could only be

   “destroyed” if it existed. Monroe County has claimed that no such evidence existed.

   Exhibit D, Deposition of Tommy Jones, p. 15, lines 4-15. Deposition of Johnson, p. 53,

   lines 1-25; p. 54, lines 1-23. Defendant Johnson acknowledged that Plaintiff had told him

   that Plaintiff needed help during the original contact. Exhibit G, Deposition of Bill

   Johnson, p. 45, lines 3-6.

          Despite Johnson’s denials in his deposition as to his reasons for stopping Plaintiff,

   Johnson told Tommy Jones that he had gotten a call about Plaintiff’s conduct at the

   Election Commission earlier that day. Exhibit D, Deposition of Tommy Jones, p. 11, lines

   12-22. (Q. What did Bill Johnson tell you as to what happened?.....A. Is that he’d received


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   a call on Mr. Lovingood he had initiated a traffic stop on Niles Ferry, right off Highway

   411.”) Bill Johnson’s wife was a dispatcher for the Sheriff’s Department. Exhibit G,

   Deposition of Johnson, p. 33, lines 16-22. So at the time of the initial encounter by

   Johnson of Plaintiff, Johnson knew that Plaintiff had had some sort of melt-down or

   mental episode earlier that morning while attempting to vote at the Election Commission.

          As to the second incident, after loading Plaintiff into the cruiser, he was driven to

   the Monroe County Jail. The videos of the arrival of the patrol car at the sally port reveal

   that both cruisers parked outside the sally port rather than pulling in and closing the gate

   behind them. See Exhibit A, Video Front Camera 07-20140419-133020.avi. It is curious

   because pulling into the sally port and closing the gate behind the cruiser would have been

   the safest way to deal with a combative prisoner, but if you were going to “tune up” the

   prisoner before taking him into the Jail as the deputies did, parking outside the gate put

   the cruiser further away from the video cameras. Notwithstanding that, the video shows

   Johnson and the other patrol officer opening the back door of Johnson’s cruiser, reaching

   in and grabbing Plaintiff who was hog-tied and in a ball, and then violently hurling

   Plaintiff from the back seat onto the concrete pavement. Exhibit A. Such force was not

   only unnecessary, it was gratuitous violence which has been condemned by the Sixth

   Circuit. Miller v. Sanilac County, 606 F.3d 240, 252-253 (2010).

          The other five cases to which Plaintiff has pointed in his Request for Judicial

   Notice, reflect similar incidents of gratuitous violence:

          1.     In 2012, deputies Wilburn and Goodman pepper-sprayed an inmate,

   Randall Carter, in the jail who was not only strapped into a restraint chair, he was inside

   a cell at the Monroe County Jail at the time. They resigned, were criminally charged, pled




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   to the charges and received diversion, and then Wilburn was rehired by the Monroe

   County Sheriff’s Department.

          2.     Josh Crowder, an inmate, was tasered by then-Jail Administrator Trent

   Prock, while Crowder was sleeping in his bed in the Monroe County Jail.

          3.     Deputy Sonny Smart sucker punched an inmate named Justin Bell in the

   face while at the Jail.

          4.     School Resource Officer Albert Medina not only shackled a child to a chair

   at the Monroe County Jail and was not fired for it, he subsequently put a special needs

   child in a choke-hold so tight that the badge on his uniform left a perfect impression on

   the skin of the child which was documented with photographs. (Apparently after the

   second incident, Monroe County and Deputy Medina parted ways.)

          Several of these cases resulted in lawsuits that included Monroe County as a

   defendant so the County cannot claim it was ignorant of the issues relating to excessive

   force claims within the Sheriff’s Department. In fact, Tommy Jones testified that once he

   took over the Department, he made a change to the procedures where “road deputies”

   were not to enter the Jail; instead they were to pull into the sally port and the

   jailers/deputies assigned to the Jail would come out and remove the prisoner from the

   cruiser and escort the prisoner into the Jail. Exhibit D, Deposition of Jones, p. 13-14, lines

   8-25, 1-2 (“That just helps keep tempers down.”) Plainly there was no training, or

   insufficient training, for the “road deputies”, to prevent road deputies from unleashing

   their tempers on prisoners once they were taken into custody resulting in the

   unconstitutional use of force, and the County was well aware of that.

          Finally, the third instance of the unconstitutional use of force shows that Plaintiff

   was in the drunk tank, his feet shackled and those shackles then attached to the handcuffs


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   he was wearing. See Exhibit F, Request for Judicial Notice, numbers 2 and 3. The videos

   show that the officers repeatedly punched and kicked Plaintiff. Defendants Johnson and

   Graves were criminally charged for their conduct as depicted in the videos. Graves has

   already entered a plea of guilty and received diversion from the court. See Exhibit F,

   Request for Judicial Notice number 3. While this conduct led to the firing of Defendants

   Johnson and Graves, that firing did not occur for months after the actual conduct. See

   Exhibit I, Deposition of Graves, p. 74, lines 7-24. The videos depicting this violence on

   Plaintiff were available to anyone within Monroe County who cared to inquire into the

   use of force; Plaintiff’s mother complained to Sheriff Bivens within days of the incident

   (Exhibit D, Deposition of Tommy Jones, p. 37, lines 20-24); and the County had been

   abuzz with talk about the incident in which Plaintiff was beaten up and tasered by the

   Monroe County deputies. See Exhibit D, Deposition of Tommy Jones, p. 8, lines 12-25, p.

   32, lines 24-25. In short, the use of excessive force on Plaintiff was common knowledge

   within Monroe County long before the Defendant deputies were fired.

          Tommy Jones testified in deposition that he never asked Sheriff Bivens why Bivens

   had tolerated the actions of Johnson and Graves for so long and he said that he didn’t talk

   to Bivens a lot and “he probably wouldn’t speak to me or answer my question if I did.”

   Translation: Jones never asked why Bivens kept the two deputies on staff knowing what

   they had done in the Lovingood matter. Exhibit D, Deposition of Tommy Jones, p. 22,

   lines 1-9. Again, without any explanation or justification as to why Defendants Johnson

   and Graves were not the subject of at least discipline and/or retraining on the proper use

   of force when bringing a person with a mental health issue into the Jail, the County simply

   ignores what it knew was going on with the Monroe County deputies.




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          The cases identified thus far by the Plaintiff demonstrate that there was a “systemic

   failure to train” deputies adequately and that systemic failure constitutes a policy or

   custom which establishes liability for the County. Gregory v. City of Louisville, 444 F.3d

   725, 753 (6th Cir. 2006). The lack of training and supervision was glaringly apparent prior

   to the encounter with the Plaintiff, and the training and supervision was so woefully

   inadequate that Monroe County had already had multiple complaints and been sued over

   the unconstitutional use of force by its deputies. Under such circumstances the failure to

   train is tantamount to deliberate indifference as to whether or not the deputies and jailers

   in Monroe County engage in constitutional violations of the rights of inmates and persons

   being arrested. Connick v. Thompson, 563 U.S. 51 (2011) At some point, Monroe County

   has to stop claiming that they know nothing notwithstanding that the constitutional

   violations as to the excessive use of force is right in front of them, and they need to start

   correcting the problem.

          The Sixth Circuit has held that where there is an official who is a policy maker for

   the County who has ratified the unconstitutional conduct of the officers who have

   committed the unconstitutional acts by failing to train and/or failing to investigate

   complaints of unconstitutional conduct, those actions, or failures to act, may give rise to

   “municipal liability” on behalf of the County. Marchese v. Lucas, 758 F.2d 181, 187-189

   (6th Cir. 1985) (A sheriff sued in his official capacity had “a duty to both know and act”).

   In the case before this Court, the then-Sheriff Bivens was a policy maker and did not

   investigate the allegations of wrongdoing by Defendants Graves and Johnson even though

   there was videotape surveillance showing what the deputies did to Plaintiff; Plaintiff’s

   mother had complained directly to Sheriff Bivens about the treatment of her son (Exhibit

   D, Deposition of Tommy Jones, p. 37, lines 20-24); and Bivens did not subject the


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   offending deputies to any discipline or retraining. Exhibit G, Deposition of Johnson, p.

   68, lines 7-12; Exhibit D, Deposition of Tommy Jones, p. 8, lines 12-25; p. 22, lines 2-9;

   Exhibit I, Deposition of Graves, p. 74, lines 7-24. In short: Bivens ratified their

   unconstitutional use of force against Plaintiff and in so doing, has subjected Monroe

   County to liability.

          The policy or custom of allowing deputies to come into the Jail and subject inmates

   to gratuitous violence and excessive force, and failing to investigate/discipline those

   deputies created an unconstitutional policy that was the link to the violence visited upon

   Plaintiff in this case. The fact that the deputies involved knew there were cameras in the

   Jail and yet still engaged in this unconstitutional use of force is strong circumstantial

   evidence that they were secure in the belief that there would be no repercussions for their

   conduct. That belief can only come from their knowledge that in the past, similar actions

   have not resulted in discipline within the Sheriff’s Department and apparently deputies

   have only been fired when the prosecuting attorney’s office has filed criminal charges.

   Bennett v. City of Eastpointe, 410 F.3d 810, 819 (6th Cir. 2005); King v City of Eastpointe,

   86 F. App’x 790, 801 (6th Cir. 2003) See Exhibit I, Deposition of Graves, p. 36, lines 16-

   25, p. 37, lines 1-25, p. 38, lines 2-8, pps. 41-42, lines 21-25, 1-22.

          At some point a Court must acknowledge that Monroe County’s action in turning

   a blind eye to the repeated evidence of abuse of force by deputies against

   citizens/detainees/arrestees and inmates has crossed the line into a policy or custom of

   permitting “tune-ups” and other similar conduct by deputies in instances where the

   deputies have lost their temper with a person under their control. Based on the prior

   instances, which provided notice to the County and following which the County did




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   nothing to curb the behavior, this Plaintiff presents the Court with the opportunity to tell

   Monroe County “it stops here, and it stops now.”

          II.    FAILURE TO PROPERLY SCREEN AT HIRING

          The Defendant has withheld documents that Plaintiff’s counsel requested. Another

   request for those documents has been made without any production even while

   Defendant attempts to support its Motion for Summary Judgment with an Affidavit from

   Randy White referencing certain documents Plaintiff has never seen despite having

   requested them. See Exhibit D, Deposition of Tommy Jones, p. 17-18, p. 18-25, 1-18; p.

   24, lines 6-22; p. 28, lines 8-17.

          Even without those records, Plaintiff has identified at least five other instances of

   excessive force by deputies against citizens, detainees, and/or inmates at the Monroe

   County Jail. See Exhibit F, Request for Judicial Notice. Plaintiff is attempting to locate

   those persons and obtain affidavits or declarations from them.

          However, the testimony of Defendant Johnson reveals that he has been with

   multiple law enforcement agencies, but there is no explanation for his job-hopping.

   Exhibit G, Deposition of Johnson, pps. 7-8 lines 22-25, 1-25. Such a checkered work

   history raises a question about whether or not he was fired, or was asked to resign.

          Defendant Graves has testified that he was never required to submit to a physical

   fitness examination, and could not recall undergoing a psychological examination in

   conjunction with being hired by the Monroe County Sheriff’s Department. See Exhibit I,

   Deposition of Derrick Graves, p. 31, lines 1-18. This is a direct violation of T.C.A. § 38-8-

   106 and § 8-8-102 which requires that an applicant be examined and certified as being

   free from any disorder set forth in the Diagnostic and Statistical Manual of Mental

   Disorders of the American Psychiatric Association that would impair the applicant’s


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   ability to perform the job or the job would cause the applicant to pose a direct threat to

   the public safety. Given the number of instances involving the blatant use of excessive

   force and gratuitous violence on persons arrested/confined at the Monroe County Jail,

   and the failure of the County to turn over the personnel files of deputies/jailers requested

   by Plaintiff, one must draw the conclusion that Monroe County has for years permitted

   the Sheriff’s Department to hire and retain persons who have not met the requirements

   of T.C.A. § 38-8-106 and § 8-8-102. Such a failure would explain the repeated

   unconstitutional uses of force that have resulted in at least four (4) deputies being

   criminally charged for their assaults on inmates.

                                        CONCLUSION

          The repeated instances of the unconstitutional use of force by the Monroe County

   Sheriff’s deputies that have gone unchecked. As Plaintiff has demonstrated herein, there

   are ample instances of this conduct to have placed Monroe County on notice that closer

   supervision and/or retraining was required to prevent the conduct.

          The testimony of Jones reveals that official documents from the Sheriff’s

   Department have gone missing and both Graves and Johnson have testified that there

   was never any investigation into their conduct at the time it occurred, thereby establishing

   that Monroe County has ratified through the inaction of the then-decision maker, Sheriff

   Bivens, the unconstitutional use of force by Graves and Johnson. The testimony of Graves

   in his deposition aptly demonstrates that he personally was aware of the prior incident

   with Deputies Wilburn and Goodman, knew they were criminally charged over it and took

   a plea deal, and Wilburn was then rehired by Sheriff Bivens. It is no wonder that deputies

   in Monroe County feel free to engage in the use of excessive force and/or gratuitous

   violence without fear of any meaningful consequence.


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         The testimony by Graves in his deposition was that he was hired by the Monroe

   County Sheriff’s Department even though he was never required to undergo a physical

   examination and cannot remember ever undergoing a psychological examination. Since

   the personnel files of Graves and Johnson were never produced to Plaintiff, this Court

   must draw the inference that their files would show that neither officer had the proper

   documentation in their file to qualify for their positions, and that other adverse

   information was contained therein.

         Plaintiff respectfully submits to this Court that any summary judgment be denied.

         RESPECTFULLY SUBMITTED, this the 18th day of December, 2020.


                                                 THE BOWLIN LAW FIRM P.C.


                                           BY:   _________________________
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                                 CERTIFICATE OF SERVICE

          I hereby certify that a true and exact copy of the foregoing Response and

   Incorporated       Memorandum          of   Law     to   Defendant      Monroe       County,

   Tennessee’s Motion for Summary Judgment has been duly filed electronically.

   Notice of the filing will be sent by operation of the Court’s electronic filing system to all

   parties indicated on the electronic filing receipt. All other parties will be served by regular

   U.S. mail. Parties may access this filing through the Court’s electronic filing system.

          This the 18th day of December, 2020.



                                                      THE BOWLIN LAW FIRM P.C.


                                               BY:    _________________________
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